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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



    Volvo Car Corp., et al,

                          Plaintiffs,

           V.                                                  Case No. l:18-cv-977


   The Unincorporated Associations
   Identified in Schedule A,

                          Defendants.


                                  MEMORANDUM OPINION


       This matter came before the Court on Plaintiffs' Motion for Temporary Restraining Order

(TRO)(Dkt. 11). The Court heard ex parte oral argument on August 31, 2018. Plaintiffs allege

that Defendants "are knowingly and intentionally promoting, advertising, marketing, retailing,

offering for sale, distributing, and selling counterfeit products bearing PlaintifTs' famous and

distinctive trademarks." Defendants are unknown individuals identified in Schedule A (Dkt. 8)

by their cBay or AliExpress seller ID or store name.

       Plaintiffs requested that the Court issue a temporary restraining order freezing the assets

of each of the Defendants' PayPal and/or AliPay accounts. The lack of identification for the

Defendants and the need to prevent Defendants from removing their assets beyond the

jurisdiction of the Court necessitated the ex parte hearing.

        For the reasons that follow and for good cause shown, the Court granted Plaintiffs'

motion. Further matters in this case were heard on Thursday, September 13, 2018.
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